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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    JILL MARTIN DIAZ OF VERMONT
              Plaintiffs,             ASYLUM ASSISTANCE PROJECT,
                                      (VAAP) IN SUPPORT OF PLAINTIFFS’
     v.                               MOTION FOR A PRELIMINARY
                                      INJUNCTION
UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
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          SUPPLEMENTAL DECLARATION OF JILL MARTIN DIAZ
      EXECUTIVE DIRECTOR, VERMONT ASYLUM ASSISTANCE PROJECT


I, Jill Martin Diaz, make the following statements on behalf of myself and Vermont Asylum
Assistance Project, I certify under penalty of perjury that the following statement is true and
correct pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-7) as if fully set forth hererein.
   2. My name is Jill Martin Diaz (they/them), and I am the Executive Director at Vermont
      Asylum Assistance Project (VAAP). VAAP is a nonprofit immigration law firm dedicated
      to expanding access to critical legal services for noncitizens across Vermont. VAAP grew
      out of years of grassroots advocacy to meet low-income Vermonters’ increasingly urgent
      and unmet needs for structured, equitable, and trauma-informed immigration
      representation. VAAP is the primary organization dedicated to providing legal services to
      indigent unaccompanied immigrant children who are not in detention in Vermont, among
      other immigrant youth and other subpopulations in removal proceedings.
   3. Since I signed my initial declaration pertaining to this matter, the loss of funding has caused
      VAAP to terminate 25% of our staff. Our organization is too small to responsibly float
      salary liability without the surety of reimbursement and too stretched to responsibly absorb
      the caseloads of any furloughed legal staff. Accordingly, VAAP has had to eliminate the
      Paralegal Advocate/Program Coordinator position from our organization chart, reducing
      our staff to three Legal Advocates (including my role as a Legal Advocate/Executive
      Director).
   4. Our reduced team of three is now carrying the work of four while the complexity of our
      work and conflicting demand for our time explodes. As the only organization of its kind in
      Vermont, VAAP staff are having to make zero-sum decisions between directly serving
      individual clients to whom we owe existing attorney-client duties and those whose cases
      are newly becoming the most legally urgent and perilous. We are torn between advancing
      state-based protections and participating in litigation to remedy systemic Constitutional
      and civil rights violations.
   5. We received informal notice that next month (May 2025) the U.S. Citizenship and
      Immigration Services’ Newark Asylum Office will resume conducting “circuit rides” to
      Vermont to hear affirmative asylum applicants’ interviews for the first time in over eight
      years. The only affirmative Vermont asylum applicants who have had their cases heard in
      the last eight or so years are Afghan nationals, whose interviews the Newark Asylum Office


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       completed expeditiously pursuant to the Biden Administration’s Operations Allies
       Welcome.
   6. Many of VAAP’s “unaccompanied children” clients have affirmative asylum applications
      pending and, as the Court is aware, asylum is a discretionary form of relief with a very
      complicated prima facie standard requiring highly technical expertise and intensive
      attorney time to meet. Moreover, an adverse credibility determination by an Asylum
      Officer can prejudice respondents’ de novo asylum review by the Immigration Court in
      ways that are virtually nonreviewable and functionally impossible to overcome.
   7. VAAP staff are seriously concerned that USCIS is finally granting our years-long requests
      for Newark Asylum Office circuit rides just weeks after we filed numerous
      “unaccompanied children” applications pursuant to the J-O-P- settlement filing deadline
      and amidst lost funding.
   8. VAAP pro bono attorneys typically require an intensive volume of mentorship and support
      and are not realistically likely to absorb any work that our team cannot maintain
      responsibly in-house, especially with rapidly evolving law and practice.
I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 3rd of April 2025, in Washington, D.C.
/s/ Jill Martin Diaz
Jill Martin Diaz, Esq.
Executive Director
Vermont Asylum Assistance Project




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